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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

PETER SCHATZBERG, D.C., et al. : CIVIL ACTI()N
Plaintiffs :
NO. 10-2900
v.

STATE FARM MUTUAL AUTOMOBILE :
INSURANCE COMPANY, et al. ‘
Defendants

ORDER
AND NOW, this 13th day of October 2015, it is hereby ORDERED that a status
conference shall be held on October 29, 2015, at lO:OO A.M., at the United States Courthouse,
601 Market Street, Room 4000, Philadelphia, PA, at Which time Counsel shall be prepared to
discuss the status of any remaining claims in this matter, and to advise the Court as to Which
pending motions are no longer relevant in light of the Court’s rulings on the parties’ respective

motions for summary judgment

BY THE COURT:

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